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                       IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF NEW MEXICO

ANASTACIO GRANILLO,

       Plaintiff,

v.                                                                    No. 21-cv-0777 JCH/SMV

UNITED STATES OF AMERICA,

       Defendant.

               ORDER SETTING RULE 16 SCHEDULING CONFERENCE

Date and time:        May 12, 2022, at 9:30 a.m. MDT.

Matter to be heard: Rule 16 scheduling conference

       A telephonic Rule 16 scheduling conference is set for May 12, 2022, at 9:30 a.m. MDT.

Counsel must call the Court’s AT&T Conference Line, (888) 363-4734 (access code: 4382538),

to connect to the proceedings.

       The parties should be prepared to advise the Court on the status of any criminal

investigation related to the incident giving rise to Plaintiff’s claims, as well as their JSR; all

claims and defenses; initial disclosures; discovery requests and scheduling; issues relating to the

disclosure, discovery, and preservation of electronically stored information; the timing of expert

disclosures and reports under Rule 26(a)(2); and the use of scientific evidence and whether it is

anticipated that a Daubert hearing will be needed. We will also discuss settlement prospects,

alternative dispute resolution possibilities, and consideration of consent pursuant to 28 U.S.C.

§ 636(c). Lead counsel and parties appearing pro se must participate unless excused by the

Court. Parties represented by counsel need not attend.
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IT IS SO ORDERED.



                                          _____________________________
                                          STEPHAN M. VIDMAR
                                          United States Magistrate Judge
